           Case 1:07-cr-00221-AWI Document 27 Filed 03/07/08 Page 1 of 2


 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, MASOUD MIRHADI
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )      CASE NUMBER: 1:07-cr-00221-OWW
                                                      )
11                          Plaintiff,                )
                                                      )      STIPULATION AND ORDER FOR A
12   v.                                               )      RESETTING OF STATUS CONFERENCE
                                                      )
13   MASOUD MIRHADI, et al.,                          )
                                                      )
14                          Defendants.               )
                                                      )
15
16           IT IS HEREBY STIPULATED by and between the parties, the United States of America, and
17   the defendants by and through their respective counsel that the Status Conference set for Monday, March
18   10, 2008 at 1:30 p.m. be continued to Monday, March 31, 2008 at 1:30 p.m. The additional time is
19   necessary for further settlement negotiations.
20
21
22                                                        Respectfully submitted,
23
24   DATED: March 7, 2008                                 /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
25                                                        Attorney for Defendant,
                                                          MASOUD MIRHADI
26   ///
27   ///
28   ///
           Case 1:07-cr-00221-AWI Document 27 Filed 03/07/08 Page 2 of 2


 1   ///
 2   ///
 3   DATED: March 7, 2008                       /s/ Robert Rainwater
                                                ROBERT RAINWATER
 4                                              Assistant Federal Defender for
                                                TRENT MILLER
 5
 6   DATED: March 7, 2008                       /s/ Roger Nuttal
                                                ROGER NUTTAL
 7                                              Attorney for Defendant,
                                                RODOLFO MALLARI PAGSANJAN
 8
 9   DATED: March 7, 2008                       /s/ Carolyn Delaney
                                                CAROLYN DELANEY
10                                              Assistant United States Attorney
11
12                                         ORDER
13           IT IS SO ORDERED.
14   Dated: March 7, 2008                      /s/ Oliver W. Wanger
     emm0d6                               UNITED STATES DISTRICT JUDGE
15
16
17
18
19
20
21
22
23
24
25
26
27
28
